      Case 1:21-cr-00444-JEB             Document 113-1          Filed 01/12/24        Page 1 of 3



To the Honorable Chief Judge Boasberg,

I have writen this leter, or some semblance of it a dozen or so �mes and at least a thousand �mes in my
head. It never seems to translate on paper. I fear this leter will come across as disingenuous or placa�ng
and I only wish to convey that is far from my intent. I am sure you have read hundreds or more of these
types of leters varying from pleas for mercy, to those of innocence, shi�ing blame or wholly accep�ng it,
all in an atempt to paint oneself in the most ﬂatering light. I will atempt to refrain from doing any of
the above. I believe in the almost 3 years this case has been going on, that you and I have a good
understanding of the other man. There are some things that have not been brought up and others that I
feel stand to be corrected.

First, I will say that I have read some other leters writen by Jan 6 defendants. Many feel the need to
proclaim they were misled and cast blame on President Trump and his cronies. This is disingenuous at
best and quite frankly beneath both of us. I didn’t show up for Donald Trump, so I don’t feel the need to
blame or disavow him now. Was I lied to? Probably. We have all been lied to by every poli�cian. But it
does lend itself to the ques�on I hear so o�en; why were you there?

There is a myriad of reasons but at the heart of it, the right to vote and the integrity of that vote is the
single most important part of this American experiment. Personal freedoms, the checks and balances,
the limita�ons of government, the safeguards only work if we have a fair, free and open elec�on. If that
mechanism fails, nothing else maters. I felt the courts had failed to properly hear and inves�gate the
claims of fraud, interference, etc. I was there to show support to lawmakers who I believed had the
ability to pursue legal avenues to inves�gate those claims and rec�fy the situa�on if they chose. I was
not there with any intent to stop any proceeding or usurp the law. When I went, it was simply to prac�ce
my First Amendment Right.

What transpired was not what I intended when I went, and I suspect was far from the inten�ons of most
gathered there. I accept full responsibility for my part in what happened that day. What I witnessed and
experienced at that �me felt like police brutality and I responded to it. There was nothing calculated. I
responded to the most extreme situa�on I have ever found myself in, juggling adrenaline, fear, and a
feeling of injus�ce. When I went to the rally and walked to the Capital, I was going there to peacefully
demonstrate. Heck we were even sightseeing and taking pictures. Everyone I saw there was doing the
same and I felt we were being atacked in viola�on of our rights. Years of hindsight and tens of
thousands of hours’ worth of video can say I was wrong but at that moment, that was what I felt like and
I reacted. With all the informa�on I have since learned, I can acknowledge I was wrong but at that
moment, I was simply reac�ng to what I was experiencing.

I will not blame my ac�ons on anyone other than myself, and am not excusing my conduct, but I have
come to understand that my ac�ons were a response to the trauma I was experiencing. I have sought
help and understanding for this since then. What I have come to recognize is that there were many
people having a trauma�c response at that �me. There were many veterans there who were clearly
suﬀering from PTSD. I don’t know how to convey the feeling of living in an extended state of ﬁght or
ﬂight but it is unsustainable and damaging to a person on every level. I have taken steps to learn who I
am, the things that trigger me to that response and what I need to do to respond properly. It isn’t easy to
do, and it isn’t easy to admit or even recognize that you are a vic�m.
       Case 1:21-cr-00444-JEB            Document 113-1           Filed 01/12/24       Page 2 of 3



Being released from custody by you has been a blessing in that I have had �me to learn, heal and
change. I con�nue to believe that I never should have been locked up pre-trial. I thank you for correc�ng
that injus�ce. Being detained the way I was and the treatment I endured was trauma�c and unjust. It
wasn’t easy readjus�ng. I don’t know how people do it a�er years or decades of being incarcerated. I
thought I would have had more support, but I didn’t. I have lost so many people in my life through this. I
have lost my job as VP of a company that I helped build from the ground up. I have lost my family, almost
all my friends, my dogs, my house, virtually all my belongings, money, dignity, reputa�on and on and on.
Despite all of this, I have managed to thrive.

The government has tried hard to paint me as a monster. That’s simply untrue. I have made mistakes,
but I’ve always owned up to them, learned from them and moved forward. I have restarted my life more
�mes than I can remember. Since my release, I have remained law abiding. I atempted to ﬁnd a job but
that was impossible with my charges. I somehow managed to ﬁnd a pace to live a�er selling my house,
even without a job. I took what litle money I had and started my own landscape company. I have been
successful in my ﬁrst year of business. I met an amazing woman who I’m lucky enough to call my ﬁancé.
She is wri�ng a leter as well so I will refrain from going to in depth about this. However, I will say that
she speaks the most to my character. This is an accomplished, beau�ful woman with a good career,
home, friends, family, etc. She quite literally hates Donald Trump and a vast majority of the people who
support him. The fact that she saw through everything that was writen about me online and stood with
me before, during and a�er my trial should say everything about me and my character. I have rebuilt
rela�onships with my children. They do need me in their lives, and I need them in mine.

I was told by my previous atorney that where I am today versus where I was when I was released from
pretrial custody is nothing short of a miracle. He said he has never seen anything like it. He was also
taken with my lack of anger when recollec�ng my treatment while detained. In his experience men get
mad at an injus�ce and seethe. I guess I just don’t have it in me anymore. I was angry when I ﬁrst got
released. I was hur�ng and I was suﬀering from PTSD. The only place I found support at the �me was
from people within the Jan 6 community. These are family members of Jan 6 defendants, supporters,
etc. I gave interviews on podcasts and TV. I talked to lawyers, supporters, other Jan 6 defendants and
their family members.

Over �me, I pulled away from this community and am now completely out of that loop. I did so for
several reasons. The biggest was the inability of many people in that group and even MAGA as a whole
to accept nuanced truth and hold themselves responsible for their ac�ons. I con�nue to believe that
what happened on January 6 was the fault of many. There was a failure of the poli�cians who
encouraged the demonstra�on to get out of hand, the police who were ill prepared and, in some cases,
acted poorly, protestors, including myself who acted improperly. It seems there was a complete failure
by the intelligence community and those in charge of the USCP and DC Metro Police. Neither those
oﬃcers nor the protestors ever should have been in that situa�on. The events of Jan 6 were avoidable
and those who failed to act were directly responsible for helping create it. Like I said in court, there was
no single group responsible. The truth here, like in most things, lies somewhere in the middle but
nobody wants to talk about the middle. I will, I have and because the country is so divided, the middle is
a no man’s land and that’s where I am now.

As the court is probably aware, I agreed to par�cipate in a NY Times ar�cle. I did that for my son. He has
felt guilty despite my eﬀorts to assure him I hold him no ill will. I love and respect him and there’s
       Case 1:21-cr-00444-JEB             Document 113-1          Filed 01/12/24        Page 3 of 3



nothing he or any of my boys will do to change that. He wanted to feel like he was doing something to
help and wanted the world to hear our story so that maybe some people would stop looking at us as
monsters. Many people will talk about coming together but very few will do so much as listen to
someone with whom they disagree, let alone try to change. The NYT photographer was at the Capital on
Jan 6. She was assaulted and suﬀers from PTSD. She couldn’t con�nue working at that building. I never
went into the building, and I was nowhere near her that day. I felt guilty for what others did to her. I s�ll
do. I apologized to her. We got to talk quite a bit about that day and our lives. I have the utmost respect
for her. She has changed me in ways that I can’t explain. We were lucky in the fact that very few people
who go through something like that on opposite sides get a chance to truly get to know one another. I
can’t support any group of people who will not acknowledge that what was done to her was wrong. So
again, I ﬁnd myself alone somewhere in the middle.

This en�re experience has been surreal. I’m �red of it all. I wish I could go the rest of my life and never
have to talk about Jan 6 again. I had a prety good life before this. I worked hard. I took care of my
children and dogs. I wasn’t angry or biter. I wasn’t poli�cally ac�ve. I have tried not to get angry or let
this make me biter. I have tried to simply take this as another experience and learn what I can. I don’t
want to be angry with the system, with the court or with our government. I have listened to people in
that MAGA community say that the en�re government and the courts are corrupt. I was told I would
never get a fair trial in DC. I was told that every judge had it in for all of us and that I didn’t have a
chance. I guess I might be naïve, but I didn’t ever hold that opinion. I guess I felt that as long as I showed
respect to the court that I would be treated fairly. I have always shown that respect to the court and to
the government. I do truly respect the law and the legal process. I believe I have shown that throughout
these proceedings. I didn’t want to waste the courts’ �me or the government’s �me and resources. I
tried for several years to resolve this mater. I had every inten�on of entering a plea at a 30-36 month
guideline and even ﬁred a paid atorney because of a conﬂict in order to do so. That oﬀer was withdrawn
before I could cooperate and resolve the mater. I fully expected to have this over with, my �me served
and be on with my life at this point.

To that end, I am asking what everyone in my posi�on asks for, leniency. I have proven not to be some
danger to society. Pretrial services requested that my ankle monitor be removed because I proved that. I
have been knocked down to nothing because of this and had to rebuild against all odds. I’ve literally lost
almost everything I had before my arrest. I have paid for my crime. I am truly sorry for my ac�ons and
any pain I have caused. I don’t know if I can rebuild again. My business won’t survive years in prison. I
don’t know if my rela�onship with my ﬁancé will survive years in prison. I fear my rela�onships with my
children won’t either. If the goal of punishment is to learn and change, that has been done. I am not the
same person I was 3 years ago. There hasn’t been a moment in the last 3 years where this hasn’t
weighed on me. Beyond the year in custody, I have con�nued to pay for my crimes, as do my family and
loved ones. I’m embarrassed by my ac�ons that day and if I could take them back I would. I know that is
not typical and not indica�ve of my character. I assure the court that nothing like that will happen again.
I just want to quietly raise my boys, work, and live a life that I can be proud of.
